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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


                                              )
 CHAMBERS OF COMMERCE OF THE                  )
 UNITED STATES OF AMERICA, et al.,            )
                                              )
           Plaintiffs,                        )       Civil Action No. 21-cv-00410-LKG
                                              )
 v.                                           )       Dated: February 4, 2022
                                              )
 PETER FRANCHOT,                              )
                                              )
           Defendant.                         )
                                              )

                                            ORDER

       The Court has scheduled oral arguments on defendant’s motion to dismiss the amended
complaint and plaintiffs’ cross-motion for summary judgment in the above-captioned matter, to
be held on February 17, 2022, at 2:00 p.m. Eastern Time. The parties shall adhere to the
following time allocations for the oral argument:

       1. Opening arguments for plaintiffs and defendant, 25 minutes each;

       2. Responses for plaintiffs and defendant, 15 minutes each; and

       3. Rebuttal, if any, for plaintiffs and defendant, 5 minutes each.

       In addition, the parties shall be prepared to address the following issues during the
hearing:

       1. Whether the assessment in Maryland’s Digital Advertising Gross Revenues Tax Act
          (“DATA”) constitutes a “tax” or a “penalty” under applicable Fourth Circuit
          precedent;

       2. Whether the State of Maryland has established a “plain, speedy and efficient remedy”
          for Tax Injunction Act purposes; and
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3. If the Court concludes that the Tax Injunction Act bars plaintiffs’ challenge to the
   DATA, whether plaintiffs may pursue their claims challenging the DATA’s “pass-
   through prohibition.”


   IT IS SO ORDERED.


                                          s/ Lydia Kay Griggsby
                                          LYDIA KAY GRIGGSBY
                                          United States District Judge




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